Case 2:15-cv-01178-JRG-RSP Document 13 Filed 07/12/16 Page 1 of 1 PageID #: 102




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC          §
                                     §
       Plaintiff,                    §                Case No: 2:15-cv-01169-RWS-RSP
                                     §
 vs.                                 §                LEAD CASE
                                     §
 ADAMS EXTRACT                       §
                                     §
       Defendant.                    §
 ___________________________________ §
 SYMBOLOGY INNOVATIONS, LLC          §
                                     §
       Plaintiff,                    §                Case No: 2:15-cv-01178-JRG-RSP
                                     §
 .
 vs.                                 §                CONSOLIDATED CASE
                                     §
 LIBERTY MUTUAL GROUP et al.         §
                                     §
       Defendant.                    §
 ___________________________________ §

                                            ORDER

        On this day the Court considered the Unopposed Motion to Dismiss Liberty Mutual Group
 and Liberty Life Assurance Company of Boston. It is therefore ORDERED that all claims by
 Plaintiff Symbology Innovations, LLC are hereby DISMISSED WITH PREJUDICE, and all
 claims by Defendants are hereby DISMISSED AS MOOT, with each party to bear its own costs,
 expensesSIGNED    this 3rd
         and attorneys’  fees.day of January, 2012.
         SIGNED this 12th day of July, 2016.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
